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Pennsylvania Eastern District Court

Andrew Fallows
700 Lower State Rd
Apt 11-A1
North Wales, PA 19454

VS

Donald Trump, JD Vance, and Elon Musk

                                             GRIEVANCE

In accordance with my First Amendment right to petition this government for redress of
grievances, I state the following.

Regarding Donald Trump and JD Vance
   1. On January 6th, 2021, Donald Trump engaged in insurrection.
   2. On January 13th, 2021, Donald Trump was impeached for said insurrection.
   3. Since then, Donald Trump and JD Vance have offered aid and comfort to convicted
      insurrectionists, most recently in granting pardons to 1500 such persons.
   4. The Fourteenth Amendment, Section Three precludes these men from holding their
      respective offices

Therefore I demand that both Donald Trump and JD Vance be declared illegitimate holders of
their offices and removed therefrom.

Regarding Elon Musk
    1. Since even before Donald Trump was inaugurated on January 20th, 2025, Elon Musk
        has acted as the “director” of so-called “Department of Government Efficiency” or DOGE
    2. Whereas DOGE was not authorized by Congress, as required by the Federal Advisory
        Committee Act, it is not a part of the United States government
    3. As a result, Elon Musk is not a government official and has no authority to access or act
        on government records.
Therefore, I demand that Elon Musk be arrested and charged with all applicable felonies for his
unlawful tampering with USAID, the Treasury, and any other government systems and
departments with which he has interfered. Additionally, Donald Trump and JD Vance shall be
held liable for all Musk’s actions, as the entities who provided him with access to the same.

Finally, please issue a refund for my filing costs for this petition.

Regards,
Andrew Fallows
